                                            Case 7:24-cv-02333-PMH                                Document 47-2                                  Filed 12/24/24        Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            7:24-cv-02333-PMH

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for YAAKOV FELBERBAUM
 was recieved by me on 12/11/2024:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
                                    of organization); or



           X                           I returned the summons unexecuted because Moved after attempting service at 80 Meron Rd, Monsey, NY 10952; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 140.00 for services, for a total of $ 140.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   12/11/2024
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                              Server's signature



                                                                                                                                                            Tyler Hammer
                                                                                                                                                             Printed name and title



                                                                                                            74 Parkway Trailer Court
                                                                                                            Pomona, NY 10970


                                                                                                                                                               Server's address




           Additional information regarding attempted service, etc:

           12/11/2024 8:04 PM: I spoke with an individual who identified themselves as the resident and they stated subject
           moved. I spoke with a neighbor who doesn't recognize name.




                                                                                                                                                                           Tracking #: 0151787522
